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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

                             CASE NO.: 2:24-cv-00272

 K.P.,

                       Plaintiff,

 v.

 THE INDIVIDUALS, PARTNERSHIPS,
 and UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE "A",

                       Defendants.


          COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff, K.P.1 (“Plaintiff”), by and through her undersigned counsel, brings

this Complaint against Defendants, the Individuals, Partnerships, and

Unincorporated Associations Identified on Schedule "A" hereto (collectively

“Defendants”), who are promoting, selling, offering for sale and distributing

goods bearing or using unauthorized reproductions or derivatives of Plaintiff’s



1 Since it is unknown when Plaintiff’s forthcoming Ex Parte Motion for Entry of Temporary

Restraining Order, Preliminary Injunction, and Order Restraining Transfer of Assets will be
ruled on, Plaintiff’s name and other identifying information has been removed to prevent
Defendants from getting advance notice. Counterfeiting and infringement lawsuits like this one
are closely monitored by Chinese defendants on websites like www.sellerdefense.cn, social
media (QQ, WeChat, etc.), and elsewhere on the internet. The www.sellerdefense.cn website and
others warn infringers specifically of product types, brands, law firms filing cases, and other
information necessary for defendants, like those named in this case, to evade Plaintiff’s anti-
pirating and anti-counterfeiting efforts and hide their ill-gotten gains. Plaintiff will file an
Amended Complaint which identifies Plaintiff and provides additional information and
allegations once the record is unsealed.

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Copyrighted Works within this district through various Internet based e-

commerce stores using the seller identities as set forth on Schedule “A” hereto

(the “Seller IDs”), and in support of her claims, alleges as follows:

                         SUMMARY OF THE ACTION

      1.     Plaintiff, K.P. brings this action for willful copyright infringement

and piracy committed for purposes of commercial advantage or private financial

gain by the reproduction or distribution, including by electronic means, of one or

more copies of copyrighted works in violation of 17 U.S.C. §501, and for all the

remedies available under the Copyright Act 17 U.S.C. § 101, et seq., and The All

Writs Act, 28 U.S.C. § 1651(a).

                     SUBJECT MATTER JURISDICTION

      2.     This Court has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338.

      3.     This court also has subject matter jurisdiction over this action

pursuant to 17 U.S.C. § 301.

                         PERSONAL JURISDICTION

      4.     Defendants are subject to personal jurisdiction in this district

because they purposefully direct their activities toward and conduct business

with consumers throughout the United States, including within the state of

Florida and this district, through at least the internet-based e-commerce stores

accessible in Florida and operating under their Seller IDs.




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      5.     Defendants are subject to personal jurisdiction in this district

because their illegal activities directed towards the state of Florida cause Plaintiff

injury in Florida, and Plaintiff's claims arise out of those activities.

      6.     Alternatively, Defendants are subject to personal jurisdiction in this

district pursuant to Federal Rule of Civil Procedure 4(k)(2) because (i)

Defendants are not subject to jurisdiction in any state’s court of general

jurisdiction; and (ii) exercising jurisdiction is consistent with the United States

Constitution and laws.

                                        VENUE

      7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3)

because Defendants are not residents in the United States and therefore there is

no district in which an action may otherwise be brought. Defendants are thus

subject to the Court’s personal jurisdiction.

      8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since

Defendants are, upon information and belief, aliens who are engaged in

infringing activities and causing harm within this district by advertising, offering

to sell, selling and/or shipping infringing products to consumers into this district.

      9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1400(a)

because Defendants or their agents reside or may be found in this judicial district

and therefore subject to the Court’s personal jurisdiction.




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                                  THE PLAINTIFF

      10.    K.P. is an artist domiciled and residing in Bonita Springs, Florida.

K.P. owns and operates her business.

      11.    K.P. sells her works through her business. Her products are sold

through her store on Etsy and her business website.

      12.    K.P. owns the copyrights described below, that are the subject of this

action.

      13.    Plaintiff offers for sale and sells her products within the state of

Florida, including this district, and throughout the United States.

      14.    Like many other intellectual property rights owners, Plaintiff suffers

ongoing daily and sustained violations of her intellectual property rights at the

hands of infringers, such as Defendants herein.

      15.    Plaintiff is harmed, the consuming public is duped, and Defendants

earn substantial profits in connection with the infringing conduct.

      16.    In order to combat the harm caused by the combined actions of

Defendants and others engaging in similar infringing conduct, Plaintiff expends

significant resources in connection with her intellectual property enforcement

efforts, including legal fees and investigative fees.

      17.    The recent explosion of infringement over the Internet has created

an environment that requires business owners like Plaintiff to expend significant

time and money across a wide spectrum of efforts in order to protect both

consumers and herself from the ill effects of infringement of Plaintiff's

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intellectual property rights, including consumer confusion and the erosion of

Plaintiff's brand.

                         PLAINTIFF'S COPYRIGHT RIGHTS

       18.     Plaintiff’s original sculptures, as well as the photographs used to

advertise, market, promote, and sell her three-dimensional artworks are

protected by copyright and registered with the Copyright Office (the “Copyrighted

Works”). Examples of Plaintiff’s Copyrighted Works are shown below.2

       19.     Plaintiff’s Copyrighted Works are duly registered with the Register of

Copyrights as sculptures and a group of photographs, as detailed in the table

below. True and correct copies of Copyright Certificates of Registration and the

Works they apply to are attached hereto as Composite Exhibit 1.3

 Copyright Title and Description                               Reg. No.             Reg. Date

 Copyright One (sculpture)                                 VA X-XXX-XXX            10/21/2020

 Copyright Two (sculpture)                                 VA X-XXX-XXX            04/28/2021

 Copyright Three (group of 135 photographs)                VA X-XXX-XXX            09/26/2021

       20.     Plaintiff’s original sculptures and three-dimensional artworks are

widely and legitimately advertised and promoted by Plaintiff using Plaintiff's

copyrighted photographs.




2 Omitted in initial filing. Plaintiff will file a Motion for Leave to file certain documents under

seal, including the Unredacted Complaint, which will include sample images of the Works.
3 Omitted in initial filing. Plaintiff will file a Motion for Leave to file certain documents,

including Exhibit 1, under seal.
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       21.     Plaintiff has never granted authorization to anyone to advertise,

market, or promote her genuine goods using Plaintiff's copyrighted photographs.

       22.     Plaintiff markets and sells her genuine goods through her Etsy and

her website.

       23.     Plaintiff’s display of the Copyrighted Works on her Website also

included copyright management information (“CMI”) in the form of digitally

embedded metadata, various copyright notices as well as visible and invisible

watermarks.

       24.     CMI on Plaintiff’s Copyrighted Works include her watermark,

WATERMARK, as shown below.4

       25.     Plaintiff has never granted authorization to anyone to advertise,

market, or promote unauthorized goods using Plaintiff’s Copyrighted Works.

                                        DEFENDANTS

       26.     Defendants have the capacity to be sued pursuant to Federal Rule of

Civil Procedure 17(b).

       27.     Defendants are individuals and/or business entities of unknown

makeup, each of whom, upon information and belief, either reside and/or

operate in foreign jurisdictions, redistribute products from the same or similar

sources in those locations, and/or ship their goods from the same or similar




4 Omitted in initial filing. Plaintiff will file a Motion for Leave to file certain documents under

seal, including the Unredacted Complaint, which will include sample images of Plaintiff’s
watermark.
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sources in those locations to shipping and fulfillment centers within the United

States to redistribute their products from those locations.

      28.     Defendants are engaged in business in Florida but have not

appointed an agent for service of process.

      29.     Upon information and belief, Defendants have registered,

established, or purchased, and maintained their Seller IDs.

      30.     Defendants target their business activities toward consumers

throughout the United States, including within this district, through the

simultaneous operation of commercial Internet based e-commerce stores via the

Internet marketplace websites under the Seller IDs.

      31.     Defendants are the past and present controlling forces behind the

sale of products bearing or using unauthorized reproductions or derivatives of

Plaintiff's Copyrighted Works as described herein operating and using at least the

Seller IDs.

      32.     Defendants directly engage in unfair competition with Plaintiff by

advertising, offering for sale, and selling goods bearing or using unauthorized

reproductions or derivatives of Plaintiff's Copyrighted Works to consumers

within the United States and this district through Internet based e-commerce

stores using, at least, the Seller IDs and additional names, websites, or seller

identification aliases not yet known to Plaintiff.

      33.     Defendants have purposefully directed some portion of their illegal

activities towards consumers in the state of Florida through the advertisement,

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offer to sell, sale, and/or shipment of infringing and counterfeit goods into the

State.

         34.   Upon information and belief, Defendants may have engaged in

fraudulent conduct with respect to the registration of the Seller IDs by providing

false and/or misleading information to the Internet based e-commerce platforms

or domain registrar where they offer to sell and/or sell during the registration or

maintenance process related to their respective Seller IDs.

         35.   Upon information and belief, many Defendants registered and

maintained their Seller IDs for the sole purpose of engaging in illegal infringing

activities.

         36.   Upon information and belief, Defendants will likely continue to

register or acquire new seller identification aliases for the purpose of selling and

offering for sale goods bearing or using unauthorized reproductions or derivative

works of one or more of Plaintiff’s copyrights unless preliminarily and

permanently enjoined.

         37.   Defendants use their Internet-based businesses to infringe the

intellectual property rights of Plaintiff and others.

         JOINDER OF DEFENDANTS IN THIS ACTION IS PROPER

         38.   Defendants are the individuals, partnerships, and unincorporated

associations set forth on Schedule “A” hereto.




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      39.    Defendants are promoting, selling, offering for sale, and distributing

goods bearing or using unauthorized reproductions or derivative works of one or

more of Plaintiff’s copyrights within this district.

      40.    Joinder of all Defendants is permissible based on the permissive

party joinder rule of Fed. R. Civ. P. 20(a)(2) that permits the joinder of persons in

an action as Defendants where any right to relief is asserted against them jointly,

severally, or in the alternative with respect to or arising out of the same

transaction, occurrence, or series of transactions or occurrences; and any

question of law or fact common to all Defendants will arise in the action.

      41.    Joinder of the multiple Defendants listed in Schedule “A” attached

hereto is permitted because Plaintiff asserts rights to relief against these

Defendants jointly, severally, or in the alternative with respect to or arising out of

the same transaction, occurrence, or series of transactions or occurrences; and

common questions of law or fact will arise in the action.

      42.    Joinder of the multiple Defendants listed in Schedule “A” attached

hereto serves the interests of convenience and judicial economy, which will lead

to a just, speedy, and inexpensive resolution for Plaintiff, Defendants, and this

Court.

      43.    Joinder of the multiple Defendants listed in Schedule “A” attached

hereto will not create any unnecessary delay nor will it prejudice any party. On

the other hand, severance is likely to cause delays and prejudice Plaintiff and

Defendants alike.

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       44.    Joinder of the multiple Defendants listed in Schedule “A” is

procedural only and does not affect the substantive rights of any Defendant listed

on Schedule “A” hereto.

       45.    This Court has jurisdiction over the multiple Defendants listed in

Schedule “A” hereto. Venue is proper in this Court for this dispute involving the

multiple Defendants listed in Schedule “A” hereto.

       46.    Plaintiff's claims against the multiple Defendants listed in Schedule

“A” are all transactionally related.

       47.    The actions of all Defendants cause indivisible harm to Plaintiff by

Defendants’ combined actions engaging in similar infringing conduct when each

is compared to the others.

       48.    All Defendants’ actions are logically related. All Defendants are all

engaging in the same systematic approach of establishing online storefronts to

redistribute illegal products from the same or similar sources while maintaining

financial accounts that the Defendants can easily conceal to avoid any real

liability for their actions.

       49.    Plaintiff believes all Defendants are located in foreign jurisdictions,

mostly China.

       50.    All Defendants undertake efforts to conceal their true identities from

Plaintiff in order to avoid detection for their illegal infringing activities.

       51.    All Defendants have the same or closely related sources for their

infringing products with some sourcing from the same upstream source and

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others sourcing from downstream sources who obtain infringing products from

the same upstream sources.

      52.    All Defendants take advantage of a set of circumstances the

anonymity and mass reach the internet affords to sell infringing goods across

international borders and violate Plaintiff's intellectual property rights with

impunity.

      53.    All Defendants have registered their Seller IDs with a small number

of online platforms for the purpose of engaging in infringement.

      54.    All Defendants use payment and financial accounts associated with

their online storefronts or the online platforms where their online storefronts

reside.

      55.    All Defendants use their payment and financial accounts to accept,

receive, and deposit profits from their infringing activities.

      56.    All Defendants can easily and quickly transfer or conceal their funds

in their use payment and financial accounts to avoid detection and liability in the

event that the Plaintiff's anti-pirating and anti-counterfeiting efforts are

discovered, or Plaintiff obtains a monetary award.

      57.    All Defendants violated one or more of the Plaintiff's intellectual

property rights in the United States, by the use of common or identical methods.

      58.    All Defendants understand that their ability to profit through

anonymous internet stores is enhanced as their numbers increase, even though

they may not all engage in direct communication or coordination.

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      59.    Many of the Defendants are operating multiple internet storefronts

and online marketplace seller accounts using different Seller IDs listed on

Schedule “A.” As a result, there are more Seller IDs than there are Defendants, a

fact that will emerge in discovery.

      60.    Defendants’ business names, i.e., the Seller IDs, associated payment

accounts, and any other alias seller identification names or e-commerce stores

used in connection with the sale of infringements of Plaintiff's intellectual

property rights are essential components of Defendants’ online activities and are

one of the means by which Defendants further their infringement and

counterfeiting scheme and cause harm to Plaintiff.

      61.    Defendants are using infringements of Plaintiff's intellectual

property rights to drive Internet consumer traffic to their e-commerce stores

operating under the Seller IDs, thereby increasing the value of the Seller IDs and

decreasing the size and value of Plaintiff's legitimate marketplace and intellectual

property rights at Plaintiff's expense.

      62.    Defendants, through the sale and offer to sell infringing products,

are directly, and unfairly, competing with Plaintiff's economic interests in the

state of Florida and causing Plaintiff harm and damage within this jurisdiction.

      63.    The natural and intended by product of Defendants’ logically

related actions is the erosion and destruction of the goodwill associated with

Plaintiff's intellectual property rights and the destruction of the legitimate market

sector in which it operates.

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      64.    Upon information and belief, at all times relevant hereto, Defendants

had actual or constructive knowledge of Plaintiff's intellectual property rights,

including Plaintiff's exclusive right to use and license such intellectual property

rights.

                 DEFENDANTS’ INFRINGING ACTIVITIES

      65.    Defendants are promoting, advertising, distributing, selling, and/or

offering for sale infringing goods in interstate commerce using exact copies,

substantially similar copies, and/or derivatives of the Copyrighted Works (the

“Infringing Goods”) through at least the Internet based e-commerce stores

operating under the Seller IDs.

      66.    Specifically, Defendants are using infringements of the Copyrighted

Works to initially attract online customers and drive them to Defendants’ e-

commerce stores operating under the Seller IDs.

      67.    Plaintiff has used the Copyrighted Works extensively and

continuously before Defendants began offering goods bearing or using

unauthorized reproduction or derivative works of one or more of Plaintiff’s

Copyrighted Works.

      68.    Upon information and belief, Defendants’ Infringing Goods are of a

quality substantially different than that of Plaintiff's genuine goods.

      69.    Defendants advertise their e-commerce stores, including their

Infringing Goods offered for sale, to the consuming public via e-commerce stores



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on, at least, one Internet marketplace website operating under, at least, the Seller

IDs.

       70.   In so advertising their stores and products, Defendants improperly

and unlawfully use reproductions or versions of the Copyrighted Works, or

derivatives thereof, without Plaintiff’s permission.

       71.   As part of their overall infringement and counterfeiting scheme,

most Defendants are, upon information and belief, concurrently employing and

benefitting from substantially similar, advertising and marketing strategies

based, in large measure, upon an illegal use of infringements of the Copyrighted

Works.

       72.   Specifically, Defendants are using infringements of the Copyrighted

Works in order to make their e-commerce stores selling illegal goods appear

more relevant and attractive to consumers searching for both Plaintiff's goods

and goods sold by Plaintiff's competitors online.

       73.   By their actions, Defendants are contributing to the creation and

maintenance of an illegal marketplace operating in parallel to the legitimate

marketplace for Plaintiff's genuine goods.

       74.   Defendants are causing individual, concurrent and indivisible harm

to Plaintiff and the consuming public by (i) depriving Plaintiff and other third

parties of their right to fairly compete for space within search engine results and

reducing the visibility of Plaintiff's genuine goods on the World Wide Web, (ii)

causing an overall degradation of the value of the goodwill associated with

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Plaintiff’s business and its intellectual property assets, and (iii) increasing

Plaintiff's overall cost to market its goods and educate consumers via the

Internet.

      75.    Defendants are concurrently conducting and targeting their

infringing activities toward consumers and likely causing unified harm within

this district and elsewhere throughout the United States.

      76.    As a result, Defendants are defrauding Plaintiff and the consuming

public for Defendants’ own benefit.

      77.    Upon information and belief, at all times relevant hereto, Defendants

in this action had full knowledge of Plaintiff's ownership of the Copyrighted

Works, including its exclusive right to use and license such intellectual property

and the goodwill associated therewith.

      78.    Defendants’ use of the Copyrighted Works, including the promotion

and advertisement, reproduction, distribution, sale and offering for sale of their

Infringing Goods, is without Plaintiff's consent or authorization.

      79.    Defendants are engaging in the above-described illegal infringing

activities knowingly and intentionally or with reckless disregard or willful

blindness to Plaintiff's rights.

      80.    If Defendants’ intentional infringing activities are not preliminarily

and permanently enjoined by this Court, Plaintiff and the consuming public will

continue to be harmed.



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      81.    Defendants’ infringing activities are likely to cause confusion,

deception, and mistake in the minds of consumers before, during and after the

time of purchase.

      82.    Defendants’ payment and financial accounts, including but not

limited to those specifically set forth on Schedule “A,” are being used by

Defendants to accept, receive, and deposit profits from Defendants’ infringing

activities connected to their Seller IDs and any other alias, e-commerce stores, or

seller identification names being used and/or controlled by them.

      83.    Defendants are likely to transfer or secret their assets to avoid

payment of any monetary judgment awarded to Plaintiff.

      84.    Plaintiff is suffering irreparable injury and has suffered substantial

damages as a result of Defendants’ unauthorized and infringing activities and its

wrongful use of Plaintiff's intellectual property rights.

      85.    If Defendants’ infringing, and unfairly competitive activities are not

preliminarily and permanently enjoined by this Court, Plaintiff and the

consuming public will continue to be harmed.

      86.    The harm and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement,

promotion, offers to sell, and sale of their Infringing Goods.

      87.    Defendants have sold their infringing products in competition

directly with Plaintiff's genuine products.



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      88.     Plaintiff should not have any competition from Defendants because

Plaintiff never authorized Defendants to use Plaintiff's copyrights.

      89.     Plaintiff has no adequate remedy at law.

                  COUNT I – COPYRIGHT INFRINGEMENT

      90.     Plaintiff incorporates the allegations of paragraphs 1 through 90 of

this Complaint as if fully set forth herein.

      91.     Plaintiff has complied in all respects with the Copyright Act of the

United States and all other laws governing copyright and secured the exclusive

rights and privileges in and to the copyrights at issue in this action.

      92.     Pursuant to 17 U.S.C. § 411 (a), Plaintiff registered copyright(s) for

her Works.

      93.     Defendants directly infringed Plaintiff's exclusive rights in its

copyright registered Works under 17 U.S.C. § 106.

      94.     Defendants copied, displayed, and distributed Plaintiff's Copyrighted

Works and/or prepared derivative works based upon Plaintiff's Copyrighted

Works in violation of Plaintiff's exclusive rights under 17 U.S.C. §106(1), (2)

and/or (5).

      95.     Defendants’ conduct constitutes willful and direct copyright

infringement of Plaintiff's Copyrighted Works.

      96.     Defendants profited from the direct infringement of the exclusive

rights of Plaintiff in the Works at issue in this case under the Copyright Act.



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      97.    Defendants’ infringement is not limited to the copyright

infringement listed above. Plaintiff will identify such additional infringement

after discovery.

      98.    On information and belief, Defendants routinely and intentionally

infringe the intellectual property rights of others, including but not limited to,

acting with willful blindness and/or reckless disregard.

      99.    Plaintiff has been damaged by the infringement.

      100. The harm to Plaintiff is irreparable.

      101.   Plaintiff is entitled to temporary and permanent injunctive relief

from Defendants’ willful infringement.

      102. Plaintiff is entitled to recover her actual damages and/or statutory

damages, at her election.

      103. Plaintiff is entitled to recover her reasonable costs and attorneys’

fees incurred in this action.

     COUNT II – REMOVAL OR FALSIFICATION OF COPYRIGHT
                 MANAGEMENT INFORMATION
      104. Plaintiff incorporates the allegations of paragraphs 1 through 90 of

this Complaint as if fully set forth herein.

      105. Plaintiff’s Copyrighted Works contain CMI as defined by 17 U.S.C. §

1202 including Plaintiff’s watermark, REDACTED.

      106. Defendants knowingly and with the intent to enable or facilitate

copyright infringement removed CMI from the works at issue in this action in

violation of 17 U.S.C. § 1202(b).
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      107. Alternatively, Defendants knowingly and with the intent to induce,

enable, facilitate, or conceal infringement, provided copyright management

information that is false.

      108. Defendants committed these acts knowing or having reasonable

grounds to know that they will induce, enable, facilitate, or conceal infringement

of Plaintiff’s rights in the works at issue in this action protected under the

Copyright Act.

      109. Defendants caused, directed and authorized others to commit these

acts knowing or having reasonable grounds to know that they will induce, enable,

facilitate or conceal infringement of Plaintiff’s rights in the works at issue in this

action protected under the Copyright Act.

      110.   Plaintiff has been damaged.

      111.   The harm caused to Plaintiff, has been irreparable.

      WHEREFORE, Plaintiff K.P. demands judgment on all Counts of this

Complaint and an award of equitable relief and monetary relief against

Defendants as follows:

      a. Entry of temporary, preliminary, and permanent injunctions pursuant

          to 17 U.S.C § 502 and 503 and Federal Rule of Civil Procedure 65 from

          copying, displaying, distributing, or creating derivative works of

          Plaintiff’s registered copyrights.

      b. Entry of a Temporary Restraining Order, as well as preliminary and

          permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs

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         Act, and the Court’s inherent authority, enjoining Defendants and all

         third parties with actual notice of the injunction issued by this Court

         from participating in, including providing financial services, technical

         services or other support to, Defendants in connection with the sale and

         distribution of non-genuine goods bearing and/or using infringements

         of the Copyrighted Works, that copy, display, distribute or use

         derivative works of Plaintiff’s registered copyrights.

      c. Entry of an order authorizing seizure, impoundment and/or destruction

         of all of the products used to perpetrate the infringing acts pursuant to

         17 U.S.C. § 503.

      d. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

         and the Court’s inherent authority that, upon Plaintiff's request, the

         applicable governing Internet marketplace website operators and/or

         administrators for the Seller IDs who are provided with notice of an

         injunction issued by this Court disable and/or cease facilitating access

         to the Seller IDs and any other alias seller identification names being

         used and/or controlled by Defendants to engage in the business of

         marketing, offering to sell, and/or selling goods bearing or using

         infringements of the Copyrighted Works.

      e. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

         and this Court’s inherent authority that, upon Plaintiff's request, any

         messaging service and Internet marketplace website operators,

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         administrators, registrar and/or top level domain (TLD) registry for the

         Seller IDs who are provided with notice of an injunction issued by this

         Court identify any e-mail address known to be associated with

         Defendants’ respective Seller IDs.

      f. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

         and this Court’s inherent authority that upon Plaintiff's request, any

         Internet marketplace website operators and/or administrators who are

         provided with notice of an injunction issued by this Court permanently

         remove from the multiple platforms, which include, inter alia, a direct

         platform, group platform, seller product management platform, vendor

         product management platform, and brand registry platform, any and all

         listings and associated images of goods bearing or using infringements

         of the Copyrighted Works via the e-commerce stores operating under

         the Seller IDs, including but not limited to the listings and associated

         images identified by the “parent” and/or “child” Amazon Standard

         Identification Numbers (“ASIN”) on Schedule “A” annexed hereto, and

         upon Plaintiff's request, any other listings and images of goods bearing

         or using infringements of the Copyrighted Works associated with any

         ASIN linked to the same sellers or linked to any other alias seller

         identification names being used and/or controlled by Defendants to

         promote, offer for sale and/or sell goods bearing and/or using

         infringements of the Copyrighted Works.

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      g. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

         this Court’s inherent authority that, upon Plaintiff's request, Defendants

         and any Internet marketplace website operators and/or administrators

         who are provided with notice of an injunction issued by this Court

         immediately cease fulfillment of and sequester all goods of each

         Defendant bearing or using infringements of the Copyrighted Works in

         its inventory, possession, custody, or control, and surrender those goods

         to Plaintiff.

      h. Entry of an Order requiring Defendants to correct any erroneous

         impression the consuming public may have derived concerning the

         nature, characteristics, or qualities of their products, including without

         limitation, the placement of corrective advertising and providing

         written notice to the public.

      i. Entry of an Order requiring Defendants to account to and pay Plaintiff

         for all profits and damages resulting from Defendants’ copyright

         infringement, or statutory damages (at Plaintiff’s election), for all

         infringements involved in the action, with respect to any one work, for

         which any one Defendant is liable individually, or for which Defendants

         are liable jointly and severally with another, in a sum of not less than

         $750 or more than $30,000 as the Court considers just pursuant to 17

         U.S.C. §504(c)(1), or to the extent the Court finds that infringement was



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         committed willfully, an award of statutory damages to a sum of not

         more than $150,000 per violation, pursuant to 17 U.S.C. §504(c)(2).

      j. Entry of an Order requiring Defendants to pay Plaintiff for all profits

         and damages resulting from Defendants’ violations of 17 U.S.C. § 1202

         or statutory damages (at Plaintiff’s election) per violation, for which

         Defendants shall be liable in a sum per violation of not less than $2,500

         or more than $25,000 per violation pursuant to 17 U.S.C. §1203.

      k. Entry of an award pursuant to 17 U.S.C. § 505 of Plaintiff’s costs and

         reasonable attorneys’ fees and investigative fees, associated with

         bringing this action, including the cost of corrective advertising.

      l. Entry of an Order that, upon Plaintiff's request, Defendants and any

         financial institutions, payment processors, banks, escrow services,

         money transmitters, or marketplace platforms, and their related

         companies and affiliates, identify and restrain all funds, up to and

         including the total amount of judgment, in all financial accounts and/or

         sub-accounts used in connection with the Seller IDs, or other alias seller

         identification or e-commerce store names used by Defendants presently

         or in the future, as well as any other related accounts of the same

         customer(s) and any other accounts which transfer funds into the same

         financial institution account(s) and remain restrained until such funds

         are surrendered to Plaintiff in partial satisfaction of the monetary

         judgment entered herein.

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      m. Entry of an award of pre-judgment interest on the judgment amount.

      n. Entry of an Order for any further relief as the Court may deem just and

         proper.

DATED: March 26, 2024                    Respectfully submitted,


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